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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:      Oil Spill by the Oil Rig           ]                       MDL No. 2179
            “Deepwater Horizon” in the         ]
            Gulf of Mexico, on April 20, 2010  ]                       SECTION: J
                                               ]
                                               ]                       Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                       Mag. Judge Wilkinson
                                               ]

                                               ORDER

         Before the Court is Plaintiff’s Motion to Strike Certain Affirmative Defenses Under Rule

12(f). It is ORDERED that Plaintiff’s Motion is hereby GRANTED. Defendant’s first, forurth,

sixth, twelfth, thirteenth, fourteenth, fifteenth, sixteenth, seventeenth, eighteenth, twenty-first,

twenty-second and twenty-third affirmative defenses are hereby stricken.

         New Orleans, Louisiana, this ____ day of ________, 2012.



                                                       _________________________________
                                                       CARL J. BARBIER
                                                       UNITED STATES DISTRICT JUDGE




                                                                                          Exhibit 2
